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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION




ORIN BATTLES,

      Petitioner,

v.                                                         4:19cv216–WS/MJF

MARK S. INCH,

      Respondent.



              ORDER ADOPTING THE MAGISTRATE JUDGE’S
                  REPORT AND RECOMMENDATION

      Before the court is the magistrate judge's report and recommendation (ECF

No. 36) docketed July 6, 2021. The magistrate judge recommends that Petitioner’s

petition for writ of habeas corpus be DENIED. Petitioner has filed objections (ECF

No. 43) to the magistrate judge’s report and recommendation.

      The undersigned has reviewed the record in light of Petitioner’s objections

but finds no basis upon which to reject the magistrate judge’s report and

recommendation. Like the magistrate judge, the undersigned finds that Petitioner

procedurally defaulted the claims he presented in his federal petition. He is not
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entitled to relief under 28 U.S.C. § 2254.

      Accordingly, it is ORDERED:

      1. The magistrate judge’s report and recommendation (ECF No. 36) is

ADOPTED and incorporated by reference into this order.

      2. Petitioner’s § 2254 habeas corpus petition (ECF No. 1) is DENIED.

      3. A certificate of appealability is DENIED.

      DONE AND ORDERED this             5th   day of     November     , 2021.




                                 s/ William Stafford
                                 WILLIAM STAFFORD
                                 SENIOR UNITED STATES DISTRICT JUDGE
